Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 1 of 54    PageID 123

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1             IN THE UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF TENNESSEE
2    _ _ _ _ _ _ _ _ _ _ _ _ _ _ X
3      UNITED STATES OF AMERICA            :   NO. 10-CR-20194      (SHM)
                      PLAINTIFF,           :
4                                          :
                   VS.                     :   UNITED STATES COURTHOUSE
5                                          :   MEMPHIS, TENNESSEE
                                           :
6      WILLIAM HARNESS                     :   JANUARY 26, 2012
                      DEFENDANT.           :   10:00 A.M.
7    _ _ _ _ _ _ _ _ _ _ _ _ _ _ X
8
9
10
11                 CRIMINAL CAUSE FOR SENTENCING
                BEFORE THE HONORABLE SAMUEL H. MAYS
12              UNITED STATES DISTRICT COURT JUDGE
13                             _ _ _ _ _
14
                         A P P E A R A N C E S:
15
16   FOR THE GOVERNMENT:                   U.S. ATTORNEY'S OFFICE
                                           FEDERAL BUILDING
17                                         167 NORTH MAIN, STE. 800
                                           MEMPHIS, TENNESSEE 38103
18                                         BY: JERRY KITCHEN, ESQ.
19   FOR DEFENDANT HARNESS:                FEDERAL PUBLIC DEFENDER
                                           200 JEFFERSON, STE. 200
20                                         MEMPHIS, TN 38103
                                           BY: DAVID BELL, ESQ.
21
22                   NICOLE M. WARREN, RMR, CRR
                         OFFICIAL REPORTER
23
     Proceedings recorded by computerized stenography
24   Transcript produced by Computer-aided Transcription.
25




                         UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 2 of 54   PageID 124

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1                     E X H I B I T I N D E X
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                       UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 3 of 54   PageID 125

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1                (In open court; all counsel and
2    Defendant William Harness present.)
3                THE COURT: United States against William
4    Harness.
5                Mr. Kitchen, Mr. Bell.
6                Are you ready to go forward, Mr. Kitchen?
7                MR. KITCHEN: Yes, sir, your Honor.
8                THE COURT: Are you ready, Mr. Bell?
9                MR. BELL: Yes, your Honor.
10               THE COURT: Let us proceed. Okay.
11               Mr. Bell, you've reviewed the presentence
12   report in this case and filed your position; is that
13   correct?
14               MR. BELL: That's right, your Honor.
15               THE COURT: Mr. Kitchen, you have reviewed the
16   presentence report and filed your position; is that
17   correct?
18               MR. KITCHEN: Yes, sir, your Honor.
19               THE COURT: Mr. Harness, have you reviewed the
20   Presentence Investigation Report in your case?
21               THE DEFENDANT: Yes, your Honor.
22               THE COURT: Have you discussed it with your
23   attorney?
24               THE DEFENDANT: Yes, your Honor.
25               THE COURT: Do you have any objection to the




                       UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 4 of 54   PageID 126

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1    report, Mr. Kitchen?
2                MR. KITCHEN: No, your Honor.
3                THE COURT: What about the facts, Mr. Bell? Do
4    you have any objections to the Presentence Investigation
5    Report as filed with the Court?
6                MR. BELL: Your Honor, the only, if you recall
7    from the position paper, the only thing I had an issue
8    with is really a distinction without a difference.
9                THE COURT: What about the facts? Are there
10   factual issues?
11               MR. BELL: Not in terms of the facts of this
12   case, no, your Honor.
13               THE COURT: All right. Well, are there factual
14   issues in terms of the facts stated in the presentence
15   report?
16               MR. BELL: We do not dispute that those are the
17   facts that the officers have alleged in the Davidson
18   County case.
19               THE COURT: All right.
20               MR. BELL: Does that make sense, your Honor?
21   I'm trying to be as clear as I can.
22               THE COURT: You do not dispute the facts as
23   stated in paragraphs 22 and 23.
24               MR. BELL: Your Honor, that case is still
25   pending in Davidson County.




                       UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 5 of 54   PageID 127

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1                THE COURT: Well, I understand that. I'm just
2    asking you a straightforward question. Do you dispute the
3    facts or not?
4                MR. BELL: I do not dispute that those are the
5    facts that the police officers have stated.
6                THE COURT: All right. There's no dispute
7    about the facts in paragraphs 22 and 23. Therefore, the
8    Court will accept the Presentence Investigation Report as
9    its findings of fact.
10               What about the guideline calculations,
11   Mr. Bell?
12               MR. BELL: No objection, your Honor.
13               THE COURT: The Court will adopt the guideline
14   calculations of the presentence report as its conclusions
15   of law.
16               What about acceptance, Mr. Kitchen?
17               MR. KITCHEN: We agree to the third level of
18   acceptance, your Honor.
19               THE COURT: You move for the third level?
20               MR. KITCHEN: Yes, sir.
21               THE COURT: That's granted.
22               We're under the 2011 Guideline Manual,
23   Mr. Bell?
24               MR. BELL: We are, your Honor.
25               THE COURT: Mr. Kitchen?




                       UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 6 of 54   PageID 128

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1                MR. KITCHEN: Yes, sir.
2                THE COURT: Probation?
3                PROBATION OFFICER: Yes, your Honor.
4                THE COURT: All right. So, that's 57 to 71
5    months of custody based on a Total Offense Level 23;
6    Criminal History Category III; supervised release not less
7    than three years; supervise -- well, fine $10,000 to
8    $1 million; restitution not applicable; mandatory special
9    assessment of $100.
10               Is that your understanding of where we are,
11   Mr. Bell?
12               MR. BELL: Yes, it is, your Honor.
13               THE COURT: Mr. Kitchen?
14               MR. KITCHEN: Yes, sir.
15               THE COURT: Probation.
16               PROBATION OFFICER: Yes, your Honor.
17               THE COURT: All right. Mr. Bell, we've
18   established, I think, we're under the 2011 Guideline
19   Manual.
20               MR. BELL: That's right.
21               THE COURT: All right. Let's go.
22               MR. BELL: First of all, good morning, your
23   Honor.
24               THE COURT: Good morning to you.
25               I've already said good morning to you. Am I




                       UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 7 of 54   PageID 129

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1    supposed to say good morning to you twice?
2                MR. BELL: I don't know that I have, your
3    Honor. So, I just wanted to make that sure I greeted you
4    properly, your Honor.
5                And may it please the Court --
6                THE COURT: I feel properly greeted.
7                Go ahead.
8                MR. BELL: Thank you, your Honor.
9                Before we get started, I wanted to point out
10   that there is a large crowd here for Mr. Harness; and I
11   wanted to give your Honor some of the names. I'm going to
12   be emailing all of the full names to the court reporter
13   later just to make sure that she gets everything, but in
14   the audience today we have Jason DeFord who is a best
15   friend of Mr. Harness.
16               We have his daughter, Brianna; his son, Little
17   William; his daughter, Innocense; and his daughter,
18   Curtisee; and then his son, Little Waylon. They're all
19   here before the Court. Those his five children that I
20   know the Court is well aware of from the presentence
21   report and the position paper.
22               We also have his wife here, Ms. Candace
23   Harness. She's in the front row closest to the aisle with
24   one of their children.
25               We also have, interestingly -- I think the




                       UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 8 of 54   PageID 130

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1    Court should take note of this -- we have Stephanie Hayes
2    here who is the mother of Mr. Harness's first two
3    children; and she's come here in support as well.
4                We also have some other friends and cousins.
5    Cody Hess is a friend who's here. Nicole Tinin is a
6    cousin who's here. Belinda McCoy is a friend. Ashley
7    Minguez is a friend who also is one of the individuals who
8    had sent a letter in that I filed as one of the
9    attachments to the position paper.
10               We have Hector Reyes and Edward Crowe, both of
11   whom submitted letters as well; Chris Gray who's a friend
12   as well; Tiffany Stacey who's a friend; Melissa Cowell
13   who's a friend.
14               And we actually have an individual named Junior
15   Stewart who is here. He's back in the middle in the blue
16   shirt who Mr. Harness doesn't know but who is simply a fan
17   of him as a musician, who just decided to come for the
18   hearing today.
19               So, we have quite a bit of family and friend
20   support who are here for Mr. Harness.
21               THE COURT: Well, welcome to all of you. It's
22   a pleasure to have you in court this morning. Thanks for
23   coming.
24               Go ahead, Mr. Bell.
25               MR. BELL: Yes, your Honor.




                       UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 9 of 54   PageID 131

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1                Your Honor, Mr. Harness stands before you as an
2    individual who committed the crime that he's been charged
3    with. As you know, he not only told the Court when he
4    came in and pled guilty but he also told the police when
5    they were interrogating him and he told the probation
6    officer when we did our interview that he was guilty of
7    this crime and that he committed this crime.
8                There is no issue about whether he -- whether
9    he did this or not. Of course, we know that the crime
10   involves the attempted purchase of a number of Oxycodone
11   pills. Oxycodone, as your Honor knows, is a drug that for
12   a long time was simply used for pain relief but in
13   increasing years has been used by people in more of a
14   recreational fashion.
15               As your Honor knows from reading the
16   presentence report, Mr. Harness told the probation officer
17   that he's had a long history of taking Oxycodone, sort of
18   a self-medication, and that he is addicted to that drug.
19               It all started in terms of the drug and the
20   substance abuse issues probably back at the point where
21   Mr. Harness was an adolescent boy and his father, when he
22   was age 11, Mr. Harness was age 11, committed suicide.
23   While his relationship with his father had been tenuous at
24   best and he had had an on-and-off-again relationship with
25   him, that incident, that event in his life seemed to spark




                       UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 10 of 54   PageID 132

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1    something where Mr. Harness started to experiment with
2    alcohol, experiment with marijuana, argue with his mother,
3    have issues back and forth, and ended up in a situation
4    where by the time he was 16, between 16 and 17 years old
5    he was living with an uncle, he was getting in some
6    trouble with the juvenile authorities, and he was using
7    drugs.
8                 This continued for a period of time until he
9    began to get arrested as a young adult; and as your Honor
10   knows, he got some misdemeanor charges. He was charged
11   with possession of a weapon charge, theft of property
12   charge, some misdemeanor drug charge; and then he received
13   a sentence for a felony drug charge when he was about
14   20 years old.
15                And at that point he was a young man who was
16   using drugs on a regular basis, who was getting in trouble
17   with the law, and who was sent to prison; and he was
18   pretty much in a position of trying to figure out how to
19   turn things around.
20                And the good part of this aspect of the story
21   is that he started taking some classes. He took domestic
22   violence classes and completed a program. He went and
23   took a substance abuse program and completed a certain
24   portion of that and then was doing well.
25                And after release, Mr. Harness began to work




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 11 of 54   PageID 133

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1    and he worked first for a -- at a -- in a country club as
2    sort of an apprentice to a chef there where he learned how
3    to run banquets and he learned how to cook and he learned
4    how to be a chef. After that, he was hired to be a
5    restaurant kitchen manager at a place called I believe it
6    was Joe's Diner, if I'm not incorrect.
7                 THE DEFENDANT: (Nods head affirmatively.)
8                 MR. BELL: So, we have this person who is
9    really struggling in his early times and is sent to
10   prison. When he gets out, he starts to work and he starts
11   to do well and he's staying off of the drugs and he is
12   starting to form a life, a productive life, and he spends
13   four or five years doing this and it works really well.
14                But there was something more in Mr. Harness'
15   background where he had this love for music. Part of it
16   is probably based on his family, his exposure to music.
17   Part of it was based on his talent, and he was signed to a
18   record contract I believe in 2006.
19                THE DEFENDANT: '8. 2008.
20                MR. BELL: I believe the first record
21   contract --
22                THE DEFENDANT: Yeah, 2006.
23                MR. BELL: -- was 2006 with the original record
24   company, the one that was -- that went bankrupt.
25                And he began to get involved in the record




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 12 of 54   PageID 134

                                                                      12

1    industry and the music industry and, of course, we know
2    Mr. Harness is from around the Nashville area and we know
3    that he was -- he was a person who actually got signed as
4    an artist.
5                 Of course, along with being signed as an
6    artist, he was required to go start making recordings and
7    start touring and playing shows; and unfortunately for
8    Mr. Harness and for his family, he fell back into his old
9    pattern of substance abuse. He started to use these pills
10   again, most specifically oxycodone, the same pill that is
11   involved in this case.
12                It's unfortunate because, while on the one hand
13   Mr. Harness was being very successful and trying to be a
14   good, a good recording artist and be a successful
15   musician, he was struggling in his personal life with this
16   addiction. Yet at the same time he was also helping to
17   support his first two children and he was starting a
18   family where he had three more children as well.
19                So, it's a difficult situation because
20   Mr. Harness has been successful. He's done some really
21   great things and we know that he can be a successful and
22   productive member of society but when he was first exposed
23   to the music industry, he fell back into that same pattern
24   of substance abuse that he had been in before.
25                Where that substance abuse comes from it's hard




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 13 of 54   PageID 135

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1    to really define. I'm certainly not a psychiatrist or a
2    psychologist by any stretch of the imagination, but I
3    would say that it is telling that after his father's
4    suicide he starts to use substances on a regular basis. I
5    would say that the struggles that he went through when he
6    was first growing up were -- probably had some sort of
7    impact on it as well.
8                 Of course, we recounted both in the position
9    paper and the presentence report how his mother was a
10   strong, independent woman who basically raised her mostly
11   by herself -- raised him mostly by herself. While she had
12   available to her probably any number of resources, having
13   as her stepfather the famous Waylon Jennings, a country
14   musician, on the other hand she was so independent that
15   she really didn't want to accept any help.
16                So, Mr. Harness would flip back and forth
17   between going to visit his famous relatives who had lots
18   of money and were very wealthy and then going back to
19   where his mother lived in more impoverished settings in
20   the trailer park and places like that and sometimes
21   Government type housing.
22                It's this strange dichotomy that Mr. Harness
23   was exposed to at a very early age. So, somewhere along
24   the way we know from looking at the presentence report
25   that Mr. Harness when he was in cus -- incarcerated as a




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 14 of 54   PageID 136

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1    young man was diagnosed with Posttraumatic Stress
2    Disorder, although he was never actually treated for that.
3                 So, what I would submit to the Court that part
4    of what Mr. Harness may have been doing was trying to
5    self-medicate by using some of these drugs because of the
6    issues that he had had in the past and the mental health
7    diagnosis that he had gotten and that Posttraumatic Stress
8    Disorder probably had a lot to do with his father and it
9    had a lot to do with his family upbringing.
10                All that being said, none of these are excuses
11   for why Mr. Harness committed this crime. He committed
12   this crime because he was a drug addict, because he wanted
13   to buy these pills; and he was the one who talked to the
14   undercover agent or the CI, as it might be said. He was
15   the one who arranged the deal, and he was the one that had
16   someone drive him there to purchase these pills. There's
17   no putting that on someone else. There's no allegation
18   that he was not competent in the time when that happened.
19   He did this, and he is going to be punished for it. We
20   know that.
21                But we know that Mr. Harness not only can be
22   successful -- he's signed to a record contract, is paid
23   regularly -- but also that he has a family and friends
24   that support him greatly and you can see that by seeing
25   them all here today.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 15 of 54   PageID 137

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1                 And we know that when he was originally
2    arrested on this case, as you -- as your Honor knows from
3    the Pretrial Services Report that was originally submitted
4    but also the one that was submitted just a couple of days
5    ago, the pretrial services in Nashville told the Court --
6                 THE COURT: What do you mean the one that was
7    submitted a couple of days ago?
8                 MR. BELL: We just had one that was filed a
9    couple of days ago.
10                THE COURT: What was that one? Are you talking
11   about the addendum?
12                MR. BELL: I'm sorry. I'm talking about the
13   pretrial services report, not the presentence report.
14                THE COURT: Oh, you're talking about
15   Document 50 that was filed on the 24th.
16                MR. BELL: That's right, Your Honor, a couple
17   of days ago.
18                THE COURT: All right.
19                MR. BELL: Yes, your Honor. I apologize for
20   not --
21                THE COURT: No, you made it clear. I just
22   didn't understand you.
23                MR. BELL: Okay. But one of the interesting
24   things about that document was that pretrial services said
25   that after he had been arrested originally on this case




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 16 of 54   PageID 138

                                                                      16

1    that they had submitted him over to go to substance abuse
2    treatment and that he had been faithfully going to that
3    treatment and he had been faithfully testing negative for
4    controlled substances.
5                 So, what that should show the Court is that he
6    had the ability under the right scenario with the correct
7    supervision to stay clean and to continue to support his
8    family.
9                 Now, I would submit again I know your Honor has
10   received the letters. I have an extra copy of the letters
11   that were submitted with the position paper, if I could
12   submit those.
13                THE COURT: Unless you have --
14                MR. BELL: There's nothing different.
15                THE COURT: I've read them all.
16                MR. BELL: Thank you, your Honor.
17                And the letters outline an individual that many
18   people, some here but many others including the former
19   interim director of the Tennessee Sheriff's Association
20   and other individuals, really think he has a lot of
21   potential and has been a good friend and a good father.
22                That kind of support should show your Honor
23   that the community believes that Mr. Harness can still be
24   a productive member of society both during his punishment,
25   what he receives for his sentence, but also afterwards.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 17 of 54   PageID 139

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1                 And I would just point out that the Court often
2    looks at an individual certainly from the presentence
3    report and when reading the allegations -- and in this
4    case they aren't just allegations. They are facts. He
5    did commit this crime. This was a crime that involved
6    trying to buy pills, involved trying to buy drugs.
7    There's no allegation that a firearm was possessed here.
8    There's no allegation that any crime of violence was
9    enacted here. It was an attempted drug purchase.
10                I also want to point out to the Court that
11   Mr. Harness is more than just the perpetrator of this
12   crime. He's a father and he's a husband and he's an
13   individual who cares for his family and supports his
14   family and who has people to stand up for him.
15                So, I'd ask your Honor to take all that into
16   consideration when determining the correct sentence.
17                Of course, I believe that Mr. Harness is an
18   individual who could benefit well from an alternative to
19   incarceration. I believe that the Court can construct an
20   alternative to incarceration that would allow him to
21   continue working and supporting his family while being
22   monitored heavily by pretrial -- by the probation office,
23   have him regularly going to substance abuse classes, have
24   him on electronic monitoring where the Court is able to
25   know when and where he leaves his house and where he's




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 18 of 54   PageID 140

                                                                      18

1    going and get approval for those types of things, and also
2    the possibility of going to a halfway house.
3                 In addition, I would say that something along
4    the line of a class in Moral Reconation Therapy would be a
5    good idea for Mr. Harness because it would help him to
6    realize about good and bad decision-making. I think that
7    since he has -- that a person with five children who has
8    to support those children can always be reminded of those
9    things.
10                It's up to the Court and I ask that the Court
11   listen to the witness -- we have a few witnesses who just
12   want to make statements -- but also to Mr. Harness to
13   determine whether he really accepts responsibility for
14   this and what the proper sentence should be.
15                THE COURT: Go ahead.
16                MR. BELL: If I could call Ms. Candace Harness.
17                Should I get the microphone, your Honor?
18                THE COURT: That's fine. The microphone I'm
19   sure would be helpful.
20                You have to turn it on.
21                I forgot your extensive experience with
22   microphones.
23                MR. BELL: I do, your Honor. Thank you.
24                (Candace Harness approaches.)
25                THE COURT: Good morning.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 19 of 54   PageID 141

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1                 MS. HARNESS: Good morning.
2                 THE COURT: Tell me your name.
3                 MS. HARNESS: Candace Harness.
4                 THE COURT: How do you spell your name?
5                 MS. HARNESS: C-a-n-d-a-c-e, H-a-r-n-e-s-s.
6                 THE COURT: All right. What do you have to
7    say, Ms. Harness?
8                 How are you related to the defendant?
9                 MS. HARNESS: He's my husband eight years now.
10   Um, he's just the best man I know. He's always been
11   committed to me and his children and his career and he's
12   just a really great guy and there's not many great men out
13   here and he is one of those men.
14                He made mistakes and, um, I agree he should
15   learn from those mistakes but, above all, he is a
16   wonderful person and I'm not just saying that 'cause he's
17   my husband. He's just -- he's just that guy. He's a
18   wonderful person.
19                THE COURT: Thank you, Ms. Harness.
20                MS. HARNESS: You're welcome.
21                Thank you, your Honor.
22                (Candace Harness returns to the gallery.)
23                MR. BELL: Your Honor, I'd also like to call
24   Stephanie Hayes.
25                (Stephanie Hayes approaches.)




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 20 of 54   PageID 142

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1                 THE COURT: Good morning, Ms. Hayes.
2                 MS. HAYES: Good morning.
3                 THE COURT: Now, tell me how to spell your
4    name.
5                 MS. HAYES: S-t-e-p-h-a-n-i-e, H-a-y-e-s.
6                 THE COURT: Okay. What do you want to say?
7                 MS. HAYES: He's just such a good person, he's
8    such a good dad, and he's always committed to his family
9    and his kids. And we have such a good relationship, me
10   and him and me and his wife and his other three children.
11                And I just ask that you can be as lenient as
12   possible 'cause he's a really wonderful person.
13                THE COURT: Tell me about a little about
14   your -- how do you know the defendant?
15                MS. HAYES: I have two children by him.
16                THE COURT: You're the mother of two of his
17   children; is that right?
18                MS. HAYES: Yes, sir.
19                THE COURT: So, you've known him a long time.
20                MS. HAYES: Yes.
21                THE COURT: Anything else you want to tell me?
22                MS. HAYES: No, sir.
23                THE COURT: Thank you, Ms. Hayes.
24                MS. HAYES: Thank you.
25                (Stephanie Hayes returns to the gallery.)




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 21 of 54   PageID 143

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1                 MR. BELL: And, your Honor, finally we have
2    Jason DeFord.
3                 (Jason DeFord approaches.)
4                 THE COURT: Good morning, Mr. DeFord.
5                 MR. DeFORD: Good morning, Judge.
6                 THE COURT: How are you this morning?
7                 MR. DeFORD: I'm a little nervous.
8                 THE COURT: Well, don't be.
9                 MR. DeFORD: For the record, my name is Jason
10   DeFord, D-e-F-o-r-d.
11                THE COURT: Capital F?
12                MR. DeFORD: Capital "F" actually. Thank you.
13                THE COURT: All right.
14                MR. DeFORD: That's why it's DeFord, not
15   "Deford." My dad gets so mad about that.
16                THE COURT: Well, fathers are that way
17   sometimes.
18                MR. DeFORD: He said our last name's all we're
19   going to have when it's all said and done.
20                THE COURT: So, how do you know the defendant?
21                MR. DeFORD: He's been my best friend for about
22   a decade.
23                THE COURT: Okay. What do you want to tell me?
24                MR. DeFORD: Your Honor, I can sit up here and
25   name a lot of attributes. We could pass this microphone




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 22 of 54   PageID 144

                                                                      22

1    around, and none of us are gonna say nothing you don't
2    expect us to say.
3                 But of all the stories we could tell about Will
4    Harness and all the things we know about his drug
5    addiction and his problems, one story you won't hear is
6    him being a bad father; and I don't mean a man that throws
7    money at a kid. I mean a man that wakes up every day and
8    takes them to school. Every one of them kids know
9    everything about their daddy from his smile to every
10   tattoo on his body. There's just not many fathers like
11   that.
12                I was blessed to have one, but I know everybody
13   else in this courtroom with me didn't.
14                That's all I have.
15                THE COURT: Thank you, Mr. DeFord.
16                (Jason DeFord returns to the gallery.)
17                THE COURT: Mr. Bell.
18                MR. BELL: Your Honor, I know Mr. Harness wants
19   to address the Court. Then we have a short DVD to play.
20                THE COURT: All right. I'd just as soon have
21   the video before Mr. Harness allocates -- allocutes.
22                MR. BELL: Yes, your Honor.
23                (DVD played in open court.)
24                MR. BELL: Your Honor, Mr. Harness.
25                THE COURT: What's that?




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 23 of 54   PageID 145

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1                 MR. BELL: Mr. Harness.
2                 THE COURT: Mr. Harness, do you wish to be
3    heard on your own behalf?
4                 THE DEFENDANT: Yes, your Honor.
5                 THE COURT: Go forward.
6                 THE DEFENDANT: I'm choked up from everybody
7    talking.
8                 Um, I know I made some bad decisions. I made
9    some mistakes and I know that I have to pay the
10   consequences for them and I'm completely at peace with
11   that. Just ready to get home and be a father, a husband,
12   a better one and just move on from this, tell my story so
13   others, you know, won't hopefully make the same decisions
14   I've made, the same mistakes, and give my children what I
15   didn't have. That's a father.
16                THE COURT: Mr. Kitchen.
17                MR. KITCHEN: Your Honor, this case is simply
18   not any different than I would submit that the Court has
19   not heard time and time again.
20                The defendant is a little different in one
21   respect. He has numerous people here to support the
22   defendant. He does appear to have come from a good family
23   in that he has had support from his family. He has had
24   financial support, it appears. He is not someone who has
25   come from the projects or someone who's come from a




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 24 of 54   PageID 146

                                                                      24

1    background where he is not privileged. He is an
2    individual who has family support, children, someone that
3    he has a reason to live and succeed and to take care of
4    his family.
5                 As you've heard, he has individuals that depend
6    on him and yet this defendant from a juvenile, it appears
7    from his report, has chosen to commit crimes time and time
8    again. It would be interesting to note the number of
9    times that these individuals -- and I don't disparage the
10   family because the family's family. They're the ones that
11   pay the price, it appears, all the time when loved ones go
12   to jail or who's in trouble.
13                They come to court, whether it's state court or
14   Federal court, they come to court time and time again and
15   beg for mercy because they don't want their loved one to
16   go to jail and they come and tell how good a person the
17   defendant is. Each time he gets in trouble, they bail him
18   out. They pay the money to get him out of jail. He goes
19   back and continues to violate the law.
20                This defendant's been in trouble time and time
21   again and yet it'd be interesting to note how many times
22   this defendant's family has come and told the judge every
23   time that he's been in trouble he's really a good person.
24   He has a good family. He takes care of his family. We
25   love him. He's good person. He takes care of his kids.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 25 of 54   PageID 147

                                                                      25

1    He's a good father. He knows his family well. His kids
2    just, as Mr. DeFord said, he -- he knows all about them.
3                 I'm sure he is a good father but they're the
4    ones that are going to suffer and it's unfortunate. They
5    always are the ones that suffer and we hear the sad
6    stories about how they're going to suffer and they put it
7    on the judge, they put it on the Court to make the Court
8    feel as if it's going to be the Court's fault that the
9    Court's going to sentence this man to jail instead of it's
10   the defendant's fault.
11                It's the defendant's fault why he's standing
12   here, not the Court's fault; but the family wants the
13   Court to feel like now if the Court sends the defendant to
14   jail, then it's your fault.
15                Well, no, it's the defendant's fault. He
16   shoulda learned his lesson back when he was 16 after he
17   was arrested for aggravated assault and aggravated
18   kidnapping when they took him to juvenile court and he got
19   in trouble and that petition was sustained and the Court
20   lectured him then, I'm sure, and his family was present
21   but he didn't. He got in trouble again.
22                And then as a juvenile he was arrested again
23   and he got in trouble again and a petition was sustained.
24                No, but he continued again. He got arrested
25   again for unlawful possession of a weapon and he was




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 26 of 54   PageID 148

                                                                      26

1    convicted of that and that weapon was -- he was in a
2    vehicle that was suspected in a robbery. This defendant
3    went down a different path. Not only was that vehicle
4    that he was in was suspected of a robbery but there was a
5    loaded handgun in that vehicle when he was 18. He didn't
6    stop then.
7                 He then was arrested for burglary of a motor
8    vehicle and theft of property. I'm sure those people that
9    were victims of that crime would be here, too, wanting to
10   know, well, now that he's continued on this life of crime,
11   what's happened to Mr. Harness? Why isn't he paying the
12   price? Is it just that the family has to come in here and
13   beg for mercy and nothing continues to happen to
14   Mr. Harness? Because nothing so far has happened to
15   Mr. Harness.
16                But then in 1999 when he got this burglary of a
17   motor vehicle, what'd they do? They just gave him a
18   misdemeanor. How much time did he serve then, or did the
19   family come in and beg for mercy then and say that he was
20   a good person then?
21                Then after that, then what does he do? He goes
22   to selling drugs. He gets caught for possession of a
23   controlled substance with intent to sell, and he gets a
24   misdemeanor again. Did the family come in and beg for
25   mercy then? We don't know.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 27 of 54   PageID 149

                                                                      27

1                 But I know in state court that's what happens.
2    The family comes in. They have a probation hearing. You
3    come in and ask for probation. You get probation.
4                 But then in this particular case, Judge, after
5    he was put on probation, it's revoked. It's revoked after
6    the defendant was charged with selling Lortab and he had
7    brass knuckles and he also had a weapon in that charge as
8    well. So, this defendant was not just an individual.
9    This is when he was 21 years of age. So, he wasn't just a
10   juvenile. He wasn't just a young man. He was someone who
11   knew better.
12                He came from a family -- he knew better at that
13   point and he was a man that was on his way, knowing that
14   he had a family. He knew better. He knew he needed to be
15   on the right path but he chose to continue to sell drugs
16   and he was carrying weapons while he was selling drugs but
17   yet he gets a misdemeanor.
18                If the law had been strong on Mr. Harness at
19   that time, maybe he wouldn't be here today; but they
20   slapped him on the wrist. Then while he got slapped on
21   the wrist, his probation is violated.
22                He then didn't learn his lesson from that. He
23   then goes out and commits more crimes. He's arrested
24   again for possession of a weapon again. So, jail didn't
25   teach him a lesson even after being revoked again.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 28 of 54   PageID 150

                                                                      28

1                 He gets arrested again. A capias is issued for
2    him for failure to appear.
3                 He then back in 2001 in December he's arrested
4    while he's on probation. So, even the rules that the
5    judge told him while he was on probation didn't mean
6    anything to Mr. Harness. The law didn't mean anything to
7    Mr. Harness. He just continued to do as he pleased.
8                 He's arrested then for selling marijuana and
9    reckless endangerment. Instead of Mr. Harness realizing
10   that committing -- violating the law is a serious
11   business, what does he do? He flees from the police, and
12   he could kill somebody. And what happens to him then? He
13   gets three years. He's selling marijuana at this point
14   and he's fleeing from the police and he sold five Lortab
15   pills and a quarter pound of marijuana to an undercover
16   agent.
17                So, not only does Mr. Harness come in here and
18   try to -- and Mr. Bell tells the Court, well, he's not
19   giving us excuses. That's exactly all he's doing is
20   giving this Court excuses of why he was committing crimes.
21   He was a drug dealer. That's what he is is a drug dealer
22   but he comes in here and wants to give the Court this sob
23   story about his past life.
24                Everybody has problems, but they don't use
25   those problems to become a drug dealer and commit crimes.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 29 of 54   PageID 151

                                                                      29

1    They go get help, but they don't commit crimes because
2    they have a hard life. They don't turn to going around
3    and running from the police and selling drugs.
4                 So, what did this defendant do? He then
5    decides that he's going to sell some more Lortabs. He
6    makes arrangements to sell thousands of Lortabs. He tells
7    the undercover agent when he is making this particular
8    deal, Judge, not that he's just some user but he tells
9    this undercover officer that he makes five to $10,000 a
10   week and he's -- he needs five to 10,000 Lortabs.
11                And Mr. Bell indicated that this wasn't a
12   violent crime. Well, we don't know he because he was
13   arrested before it ended; but he'd indicated that he was
14   going to snatch the pills from the informant because he
15   didn't have enough money to pay for all the pills at this
16   particular time.
17                Now, in addition, I know Mr. Bell had used this
18   as an indicator of his cooperation; but Mr. Harness also
19   did state as this is a favorable indication on the
20   defendant's behalf that was his cooperation. Well, the
21   defendant also stated that he knew how the system worked
22   because he has done it in the past, that when he got
23   arrested in the past that he used that by cooperating with
24   the Government in the past by giving statements to law
25   enforcement when he was arrested before.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 30 of 54   PageID 152

                                                                      30

1                 So, he knew how the system worked. So, he
2    agreed to cooperate with the Government when he was
3    arrested. So, that's -- so, he gave a statement.
4                 What else is even telling after that, your
5    Honor, here he is arrested on this particular case with
6    the DEA agent on a Federal case and then we have this
7    relevant conduct offense where which occurred -- this
8    offense occurred in March and here the defendant is now
9    involved in another wiretap case that's taking place where
10   there's recorded conversations with the defendant that's
11   occurring between November 10th of 2010 and January 15th
12   of 2011. That's just -- that's just recently. That's not
13   that far off. That's not that far ago.
14                And he's a changed man now? No, he's just
15   here, telling the judge now what he needs to say. His
16   family's telling the judge what he just needs to say so
17   that he can get a leaner sentence.
18                The only thing that's going to teach this
19   defendant anything is just punishment, just deterrence,
20   and a sentence that does not depreciate the seriousness of
21   this offense.
22                He has gotten away with it in the past and
23   before and the only thing that's going to teach this
24   defendant not to continue on his criminal ways is jail and
25   that is a deterrent. That's what Mr. Bell indicated what




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 31 of 54   PageID 153

                                                                      31

1    kept the defendant from using drugs before was that he
2    knew if he tested positive, he would go to jail while he
3    was on pretrial release.
4                 And I would submit that he needs to be taught a
5    lesson; and the only lesson that's going to do that is to
6    send him to jail, that there's no more excuses.
7                 THE COURT: Probation.
8                 PROBATION OFFICER: I have nothing to add, your
9    Honor.
10                THE COURT: Mr. Bell.
11                MR. BELL: November, 2002, to March, 2010, your
12   Honor. November, 2002, is when Mr. Harness was released
13   out of Davidson County from serving his sentence.
14   March, 2010, is when this occurred. During that period of
15   time there's nothing in the presentence report about any
16   criminal activity aside from the allegations involved in
17   Davidson County.
18                So, while Mr. Kitchen likes to come up and talk
19   about my client's criminal history -- and he has one;
20   there's no running from it -- there was a stretch of time
21   there where Mr. Harness was not getting in trouble. So,
22   the habitual offender that Mr. Kitchen wants to make my
23   client out to be is not 100 percent accurate.
24                That being said, my client committed this
25   crime. There was no firearm found in this crime. There




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 32 of 54   PageID 154

                                                                      32

1    was no snatching of the pills. That never happened.
2    There was no act of violence. That never happened. So,
3    let's be straight about what actually happened.
4                 All that being said, Mr. Harness did this and
5    he will pay the punishment for it but the fact that he has
6    a criminal history, the fact that he's been in trouble
7    before does not take away that Mr. Harness is a person
8    that can still be saved, is a person that can still be a
9    productive member of society, is a person that can support
10   his family, and is a person who has the kind of family
11   support that can make him be a valued member of this
12   community.
13                So, we'd ask your Honor to take that into
14   account when determining what the proper sentence is.
15                Thank you.
16                THE COURT: This is the case of United States
17   of America against William Harness.
18                Mr. Harness has pled guilty to Count One of the
19   indictment against him, conspiracy to possess with intent
20   to distribute oxycodone, a Schedule II controlled
21   substance. That's a Class C felony. It's a violation of
22   21, United States Code, Section 846.
23                The penalties for that offense are not more
24   than 20 years in prison; not more than a 1 million-dollar
25   fine; not less than three years of supervised release; and




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 33 of 54   PageID 155

                                                                      33

1    there's a mandatory special assessment of $100.
2                 I've made all findings of fact necessary to
3    apply the guidelines in this case. There is no dispute
4    about the facts in this case, although there is some
5    disagreement about the implications of the facts.
6                 I've calculated the guideline sentencing range
7    correctly. There's no dispute about the guideline
8    sentencing range. I have the discretion to issue a
9    sentence that varies from the guidelines. My goal is to
10   impose a sentence that is sufficient but not greater than
11   necessary to comply with the purposes of
12   18, United States Code, Section 3553.
13                To that end, I am to consider the 3553 factors
14   in exercising my independent judgment about what an
15   appropriate sentence should be. I am limited in my
16   discretion by the maximum statutory penalty for custody
17   purposes which is 20 years in prison. I'm also limited by
18   the minimum statutory provision for supervised release
19   which is three years.
20                This is a very serious crime. Mr. Harness
21   chose to become involved in the distribution of oxycodone.
22   The record is clear that it was not the first occasion he
23   had been involved in distributing oxycodone. Mr. Harness
24   was the key player in this particular crime. He made
25   arrangements for the purchase of the pills. He made that




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 34 of 54   PageID 156

                                                                      34

1    arrangement with a confidential source. He recruited his
2    friend to drive him to Memphis, Tennessee, to purchase the
3    drugs. The friend, I believe, was Mr. Taylor.
4                 In any event, Mr. Harness himself was not
5    supposed to be driving because I think he didn't have a
6    license. So, Mr. Taylor was the one who drove; and
7    Mr. Harness also recruited his brother-in-law, I believe,
8    Mr. Dile, D-i-l-e, who became involved in the matter as
9    well.
10                They drove to Bartlett, Tennessee; went to a
11   Wal-Mart; and at that point sought to purchase,
12   Mr. Harness sought to purchase 400 Oxycontin pills. The
13   exact role of Mr. Dile and Mr. Taylor here is unclear.
14   There's some indication that Mr. Harness told them that
15   they were all going down to Tunica, presumably to gamble;
16   but, in fact, that's not what they were doing, although at
17   the time of the arrest or thereabouts, Mr. Dile was in the
18   Wal-Mart apparently with some money and returned with the
19   money.
20                Now, the Oxycontin was obviously a substantial
21   amount; and the cost of it was substantial as well. The
22   original agreement was to purchase 500 Oxycontin pills for
23   $11,500. So, we have here a major drug transaction. This
24   was not a crime of opportunity. That is, Mr. Harness
25   didn't happen upon it or happen upon the occasion. He




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 35 of 54   PageID 157

                                                                      35

1    created the occasion himself and drove over 200 miles to
2    accomplish it or got someone to drive him over 200 miles
3    to accomplish it.
4                 There was long planning. Mr. Harness was
5    involved in arranging to purchase pills through repeated
6    telephone calls over a period of weeks; and then finally
7    the purchase was to be accomplished on May 31st, 2010.
8                 As to the other factors surrounding this crime,
9    there's some suggestion of violence. The record does not,
10   I think, support a specific finding that Mr. Harness had
11   any violent intent. There doesn't appear to have been a
12   firearm involved. As to snatching the pills, that appears
13   to be somewhat ambiguous.
14                Mr. Harness seems to have said he had a limited
15   amount of money, perhaps $800, and that he intended to
16   snatch the pills. However, there's some question of
17   whether he really had more money up to $8800; but
18   Mr. Harness did state his intention of snatching the pills
19   in the undisputed facts at paragraph 16 of the presentence
20   report.
21                Whether he would have done that or not, I have
22   no idea; and I can't determine from this record whether he
23   would have. There is an aspect of this crime that in the
24   civil law we used to call puffery. In other words, it's
25   apparent that Mr. Harness had a tendency -- I don't want




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 36 of 54   PageID 158

                                                                      36

1    to call it bragging but a tendency to exaggerate his
2    activities and in a way his culpability. Not only is that
3    reflected in part in paragraph 16 but you can find it at
4    paragraph 7 where Mr. Harness said he was -- he could sell
5    5,000 to 10,000 Lortab in a couple of days; 1,000 to 5,000
6    Oxycontin, depending on the price of the pill.
7                 And he's quoted as saying, "It ain't nothing
8    for me to make five or ten a week," meaning five or
9    $10,000 a week; but if he was making five or $10,000 a
10   week, he wouldn't be riding down to Memphis with $800 in
11   his pocket to buy some Oxycontin he couldn't afford. So,
12   I'm assuming that he is unlikely to have been operating at
13   that stage. That's what I call puffery.
14                The kind of talk -- I've encountered it. I
15   know Mr. Kitchen has, and I know Mr. Bell has. People who
16   are dealing drugs will brag to one another to some extent
17   what they're doing and how much money they have and how
18   successful they are, and Mr. Harness was clearly dealing
19   in drugs. He simply wasn't dealing in drugs at that
20   level.
21                So, we have a very serious crime. It's a crime
22   that was planned and executed by Mr. Harness. He had some
23   assistance from others, but that assistance was at least
24   in part unknowing.
25                There is no indication that he intended




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 37 of 54   PageID 159

                                                                      37

1    violence; but unfortunately in drug transactions of this
2    sort, violence often accompanies those transactions. Even
3    though people don't set out to engage in violence, there
4    are other people involved in the drug trade who do; and
5    guns and drugs go together like love and marriage. That's
6    simply how the drug trade operates.
7                 Mr. Harness didn't have a gun apparently, but
8    others well could have. So, by undertaking this
9    transaction, Mr. Harness created a situation where there
10   was a serious possibility of violence.
11                As to the relevant conduct, I consider the
12   relevant conduct at paragraphs 22 and 23 only for the fact
13   that Mr. Harness was arrested and as part of the overall
14   process that he was arrested in that case; and what he was
15   charged with, well, are simply facts, facts of which I can
16   take judicial notice. He was indicted by a grand jury in
17   Davidson County Criminal Court, and the grand jury of
18   necessity found that Mr. Harness and others committed a
19   crime. They found that there was probable cause to
20   believe that he committed that crime.
21                Whether he committed that crime or not is not a
22   matter before me. I consider the indictment and what's
23   charged against Mr. Harness solely for the point of
24   dealing with this case as a whole. I do not consider it
25   as part of his sentencing, and the reason for that is I




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 38 of 54   PageID 160

                                                                      38

1    don't have sufficiently reliable information before me
2    about whether Mr. Harness committed this crime. So, I
3    can't rely on it as part of relevant conduct.
4                 Now, of course, Mr. Kitchen could put on proof
5    about the crime, should he choose to do so, which he
6    hasn't and he reasonably would not and I could decide by a
7    preponderance of the evidence that Mr. Harness did this
8    and consider it but I don't have that proof before me and
9    so it's not appropriate for me to consider that.
10                It is troubling that he was arrested and
11   arrested after this crime and it's troubling that it's a
12   cocaine crime but, again, it is not something I will be
13   considering in sentencing because it does not have
14   sufficient reliability for me to consider it and -- well,
15   that's enough. So, that's the crime.
16                Now, one of the reasons that I think every
17   judge I've ever known says that this is the most difficult
18   thing he or she does is that one comes to consider the
19   human being before one, Mr. Harness, who's 31 years old.
20   He has five children.
21                He has a significant criminal history. His
22   history began when he was a young -- a child. It began
23   when -- well, a young person. Let's say that. He was
24   16 years old, and he had a complaint sustained in the
25   juvenile court in Davidson County for aggravated assault.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 39 of 54   PageID 161

                                                                      39

1    He was charged with aggravated kidnapping, but the record
2    shows that that was nolle prossed. So, it was an
3    aggravated assault which is a serious crime.
4                 He was charged again in the juvenile court in
5    Nashville, the juvenile court for Davidson County, with
6    vandalism; and that was sustained. Other matters were
7    nolle prossed, but he was guilty of vandalism.
8                 I don't know the nature of the aggravated
9    assault or of the vandalism, but they're very serious
10   matters.
11                His first adult conviction was when he was 18
12   and he unlawfully possessed a weapon, a .9 millimeter
13   semiautomatic handgun loaded with a round in the chamber
14   under his seat. They were looking for a vehicle that was
15   suspected in a robbery, they, the police; and they found
16   the defendant in it. There's no indication in the record
17   that the defendant was engaged in any robbery, but he did
18   unlawfully possess the handgun. It was a misdemeanor, a
19   fine and a weapons forfeiture.
20                At 18, he was also guilty of theft of property
21   and at 21, possession of a controlled substance and
22   unlawful possession of a weapon. That's the case where
23   his probation was revoked and he was -- but ultimately the
24   revocation was dismissed after about most likely eight or
25   nine months.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 40 of 54   PageID 162

                                                                      40

1                 There's another instance of unlawful possession
2    of a weapon, and he was guilty of sale of marijuana and
3    reckless endangerment. That's all set out in paragraph 45
4    of the presentence report.
5                 He recklessly engaged in conduct that placed or
6    might have placed a bystander in imminent danger of death
7    or serious bodily injury committed with a motor vehicle.
8    That's the case where Mr. Harness refused to stop and
9    finally stopped at -- was stopped at gunpoint and he had a
10   quarter of a pound of marijuana.
11                So, the criminal history total is five.
12   Mr. Harness is in Criminal History Category III. That's a
13   significant criminal history.
14                Mr. Bell makes the point -- and it's
15   well-taken -- that from 2002 until 2010 when he committed
16   this offense that Mr. Harness managed to stay out of
17   trouble. He apparently lived a law-abiding life. He
18   turned his life around to some extent. He started trying
19   to take classes. In fact, he took classes. He went to
20   work. He got a record contract. He attempted to deal
21   with his drug addiction with some success; and then, as
22   they say, he fell off the wagon.
23                That seems to have happened with this case. It
24   happened earlier than this case because he didn't just
25   fall into this situation; but by the relevant dates here




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 41 of 54   PageID 163

                                                                      41

1    in March of 2010, Mr. Harness was actively engaged in
2    purchasing and selling Oxycontin.
3                 There are two categories of people I see who
4    are drug dealers. That's something of an
5    oversimplification, but there's one group of people for
6    whom it's a business. It's like getting up every morning
7    and going to the office. They don't have any personal
8    relationship with drugs beyond buying and selling them.
9                 There are other people whose involvement with
10   drugs arises from their own addiction and, in part,
11   they're buying and selling drugs to feed their addiction
12   and that's what's happening here. Mr. Harness was himself
13   addicted to Oxycontin, and part of the reason he was
14   buying and selling these drugs was to feed his own
15   addiction.
16                One sees it relatively often. Sometimes people
17   try to begin at a low level or they do begin at a low
18   level and it just gets out of control and that may be what
19   happened here.
20                Mr. Harness is, as I say, 31 years old. He was
21   11 when his father committed suicide. His mother
22   fundamentally reared him. He was in a single-parent
23   household. He spent a good bit of time alone in his home
24   as his mother was gone. He has siblings including.
25                He had something of a difficult childhood. His




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 42 of 54   PageID 164

                                                                      42

1    childhood was, I would say, less difficult -- it's hard to
2    quantify these things -- less difficult than most people I
3    sentence. Let's put it that way. He had more
4    opportunities than many people I sentence who grow up on
5    the streets and have nothing. They don't have any
6    parents. They don't have fathers or mothers or sometimes
7    even grandparents. They live their lives in a gang
8    environment and begin selling drugs at an early age.
9                 Mr. Harness did begin crime at an early age but
10   he is -- his situation was better than many people I see.
11   I'm not saying his situation was good. Obviously, it
12   wasn't.
13                He's married. He has three children by his
14   present wife. He had two children with Ms. Hayes. His
15   present wife, Ms. Candace Harness, has spoken today, as
16   has the mother of two of his five children, Ms. Stephanie
17   Hayes. They've both spoken very highly of Mr. Harness
18   about his abilities as a parent and as a husband and as a
19   good person.
20                And I've also heard from Mr. DeFord who is
21   Mr. Harness' friend for many years.
22                I've read a number of letters which are
23   attached to Mr. Bell's filing. I've read all of the
24   things that were submitted to me. Some are more
25   persuasive than others, but I think it's fair to say that




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 43 of 54   PageID 165

                                                                      43

1    no one who knows Mr. Harness or at least no one who knows
2    Mr. Harness who's come forward doesn't believe that
3    Mr. Harness is a good human being who's made an effort and
4    who's been a good parent and a good spouse.
5                 Mr. Harness is apparently in good health. He's
6    made some efforts recently to improve his health through
7    diet and exercise and has lost substantial weight.
8                 There is some evidence of Posttraumatic Stress
9    Disorder from 2001. There's nothing since that indicates
10   any evaluation or any treatment.
11                He did complete, as Mr. Bell has pointed out, a
12   domestic violence program for perpetrators.
13                There's a long history of substance abuse here.
14   Mr. Harness began drinking alcohol when he was 12. He
15   started smoking marijuana when he was 10 and smoked daily
16   until he was 22. He used cocaine for several years and
17   then he began using pills -- Oxycodone, Hydrocodone, and
18   Xanax -- around the time he was 20 and he was taking pills
19   every day.
20                He did maintain his sobriety apparently from a
21   period between 2001 and 2006. He has apparently a
22   successful musical career and is a talented musician. His
23   musical career, however, appears to have been partly
24   responsible for his return to illegal substances which is
25   very unfortunate.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 44 of 54   PageID 166

                                                                      44

1                 Apparently, Mr. Harness completed a treatment
2    program at New Avenues in 2001 and 2002. He worked with
3    the Alcoholics Anonymous 12-step recovery program. He
4    managed to maintain his sobriety for a long time and then
5    he relapsed and when he relapsed, he became involved again
6    in criminal activity.
7                 Mr. Harness dropped out of school. Apparently
8    he's an intelligent, capable person. He got his GED.
9    He's a cook and, as I say, a musician. He has a history
10   of recording contracts on several occasions and has been
11   able to make some money from his recording career and from
12   his musical career, although it's not enough to, I
13   suspect, support five children. There have been periods
14   of unemployment and employment in other capacities as a
15   kitchen manager, as a chef apprentice at the Bluegrass
16   country club which I assume is ironically named.
17                So, there's good here; and there's bad here
18   like most people. Unfortunately, the crime is a serious
19   one.
20                Since he's been on pretrial release, the report
21   at Document 50 dated January 24th, 2012, states that
22   Mr. Harness has been compliant as to his reporting and
23   that his drug screens have been negative. He's also
24   attended outpatient substance abuse treatment at
25   Cornerstone. Unfortunately, he was arrested and indicted




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 45 of 54   PageID 167

                                                                      45

1    for additional criminal activity during this same period.
2                 Mr. Bell argues that Mr. Harness is more than a
3    perpetrator of a crime. I understand that. I've
4    sentenced hundreds and perhaps thousands of people and I
5    understand that people who come before me are human beings
6    and they're not just statistics or numbers or labels but
7    the commission of a crime, especially a crime of this
8    magnitude, is a powerful thing. I don't sentence evil
9    people. I've said this many times. When you do this as
10   long as I have, you learn about people; and there aren't
11   many evil people in the world. There are good people who
12   do stupid things, and that's what we have here.
13                Mr. Harness is a good person, and he's made a
14   series of terrible choices in his life. He's made some
15   good choices in his life but he's made some terrible
16   choices and bad choices have consequences. They not only
17   have consequences for you, they have consequences for
18   people you love. I've said also many times I don't
19   sentence only a defendant, I sentence a family because the
20   family feels the consequences often in ways more
21   significant than the defendant, particularly children.
22                So, I have a very serious crime in which
23   Mr. Harness was centrally involved. There's a strong need
24   for deterrence because people who distribute illegal
25   substances are pouring poison into the community.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 46 of 54   PageID 168

                                                                      46

1                 Is there a need to protect the public from
2    Mr. Harness? That's a difficult question on this record.
3    I think Mr. Harness wants to be a good, law-abiding
4    citizen. He has the capacity to do that, but whether he
5    can do it and will do it is part of him. He's the only
6    person who can decide. He's had the opportunity several
7    times to do that and has not done it. He had the
8    opportunity over a period of five years where he was
9    apparently a good and productive citizen and then became
10   involved in this criminal activity.
11                So, there is a need to protect the public here,
12   although I think Mr. Harness truly wants to do better and
13   has given an example of his effort and his ability to do
14   better, but drugs are powerful things and Mr. Harness has
15   a long history of addiction to multiple substances. It's
16   not easy to stop, and this case demonstrates that.
17                Can Mr. Harness benefit from incarceration? To
18   some extent he can. He certainly needs drug treatment in
19   a stable environment but, otherwise, probably not. He
20   already has his GED. He has skills. He's a talented
21   musician. I assume he's a talented musician. My musical
22   taste is very limited. So, I'm really not able to judge
23   whether he's a talented musician; but certainly other
24   people in the business which he's chosen believe he's a
25   talented musician. Based on me review of his supporting




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 47 of 54   PageID 169

                                                                      47

1    e-mails and letters, he has a substantial fan base; and I
2    assume there are people out there who have good taste in
3    music who understand these things that I don't understand.
4                 What about the guidelines? They seem to work
5    on the face here, the case. They recognize the
6    seriousness of the offense. They recognize the criminal
7    history. They recognize the acceptance of responsibility.
8    They never recognize the human being before one and they
9    simply don't but they seem to work here and they seem to
10   promote uniformity but I think a low-end sentence is the
11   appropriate sentence.
12                I have some concern about the guidelines, but
13   this is clearly a case for incarceration. This is not a
14   case for probation or time served or anything such as that
15   because of the seriousness of the offense and the need for
16   deterrence. I'm mildly concerned that the low end's a
17   little high, but I certainly would not go above the low
18   end in sentencing.
19                Anything else you want to say, Mr. Bell, before
20   we proceed?
21                MR. BELL: Your Honor, we understand the
22   Court's position and we would ask, as I stated earlier, we
23   would ask for a variance based on the factors we've set
24   forward so far and just ask your Honor to take that into
25   consideration but we understand that the Court has settled




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 48 of 54   PageID 170

                                                                      48

1    on an incarceration sentence.
2                 We also would ask that as any part of that
3    incarceration sentence that your Honor do recommend that
4    Mr. Harness go to the 500-hour drug program. He seems
5    like a good case for that type of thing.
6                 THE COURT: He needs that program and can
7    benefit from that program. I will recommend him for that
8    program.
9                 Anything else you want to say, Mr. Kitchen?
10                MR. KITCHEN: I agree with the 57 months, your
11   Honor.
12                THE COURT: All right. Well, that's what I'm
13   going to do. I think a low-end sentence is appropriate
14   because of Mr. Harness' efforts and because of his -- the
15   interruption in his treatment which indicates to me he's
16   made an effort but the effort was inadequate.
17                Fifty-seven months; three years supervised
18   release; no fine based on inability to pay and the length
19   of the sentence; no restitution; mandatory special
20   assessment of $100.
21                As conditions of supervised release,
22   Mr. Harness needs to cooperate in the collection of DNA as
23   directed by his probation officer.
24                He needs to cooperate in drug testing and
25   treatment as directed by his probation officer.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 49 of 54   PageID 171

                                                                      49

1                 He needs to cooperate in mental health
2    treatment as directed by his probation officer.
3                 And he needs to maintain lawful, full-time
4    employment.
5                 I will recommend Mr. Harness for the 500-Hour
6    Drug Treatment Program; and I will recommend that
7    Mr. Harness be placed as close to his family in Nashville,
8    Tennessee, as possible or at least in the Nashville area.
9                 Mr. Harness, this is a difficult sentence; and
10   it's difficult for me as a judge to impose it. It's
11   difficult for me to impose any sentence, but it's
12   particularly difficult for me because there's a disconnect
13   between this crime and the kind of person you are.
14                I understand you're a good person. All these
15   people wouldn't be here if you weren't. I understand
16   you're a good husband and a good father but I have another
17   job, too, and that's to protect society and protect the
18   public.
19                The crime here is so serious that I can't
20   simply pass over it, but you're a young man. You have a
21   long future ahead of you. You've shown in the past that
22   you can overcome these problems. You can overcome this
23   problem. I believe it absolutely. It's up to you to do
24   that. No one can do it for you. You certainly have every
25   incentive to do it with five children who are dependent on




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 50 of 54   PageID 172

                                                                      50

1    you.
2                 So, I wish you well. I think you can leave and
3    become a good citizen, and I certainly hope you'll have a
4    great career.
5                 Is there anything else, Mr. Bell?
6                 MR. BELL: No, your Honor.
7                 MR. KITCHEN: No, your Honor.
8                 THE COURT: Mr. Kitchen.
9                 Thank you very much. You're excused.
10                MR. BELL: Your Honor, I am --
11                THE COURT: Oh, he has the right to appeal.
12                Mr. Harness, you have the right to appeal your
13   sentence. You have the right to apply for leave to appeal
14   in forma pauperis. Ms. Lee is going to hand the appeal
15   papers to Mr. Bell so that you can take an appeal if you
16   want to. In forma pauperis just means you do not have to
17   pay to appeal.
18                Is there anything I haven't considered,
19   Mr. Bell, that you have -- anything you haven't already
20   argued that I haven't considered?
21                MR. BELL: No, your Honor. Through the
22   position paper and what we've talked about so far I have.
23                I did want --
24                THE COURT: Have I addressed everything you
25   want me to address?




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 51 of 54   PageID 173

                                                                      51

1                 MR. BELL: Yes, you have.
2                 THE COURT: Mr. Kitchen?
3                 MR. KITCHEN: You did, your Honor. Thank you.
4                 MR. BELL: I am asking -- I want to submit the
5    to the Court we had a number of different DVDs. I wanted
6    to make a part of the record the DVD we played. I have
7    submitted that to the Court as one of the exhibits.
8                 THE COURT: You're not submitting anything you
9    haven't played.
10                MR. BELL: No, that's the same one. It's just
11   a copy of it.
12                THE COURT: All right. That will be made
13   collective -- well, that will be made Exhibit 1 to these
14   proceedings without objection.
15                (Exhibit No. 1 was received. Description:
16   DVD.)
17                MR. BELL: Yes.
18                THE COURT: Now, I'm assuming that your letters
19   are also part of the record.
20                MR. BELL: That's right. That's --
21                THE COURT: And they were attached to your
22   position which is filed in Document 49, and the letters
23   should be filed at 49-1 for the record.
24                MR. BELL: That's right.
25                THE COURT: All right. Mr. Bell, do you know




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 52 of 54   PageID 174

                                                                      52

1    of any reason, other than any reason you've already
2    argued, why the sentence should not be imposed as stated?
3                 MR. BELL: No, your Honor.
4                 THE COURT: Probation.
5                 MR. KITCHEN: No, your Honor.
6                 PROBATION OFFICER: No, your Honor.
7                 THE COURT: Mr. Kitchen?
8                 MR. KITCHEN: No, your Honor.
9                 THE COURT: Thank you.
10                The Court will impose the sentence as stated.
11                You have the right to appeal. Thank you,
12   Mr. Harness.
13                COURTROOM DEPUTY: Do you move to dismiss
14   Count Two?
15                MR. KITCHEN: I apologize. I do move to
16   dismiss any remaining counts, your Honor.
17                THE COURT: Count Two is dismissed on motion of
18   the Government.
19                Anything else?
20                MR. BELL: No, your Honor. Thank you.
21                MR. KITCHEN: Thank you for reminding me.
22                THE COURT: Thank you.
23                Do you have anything else, Mr. Bell?
24                MR. BELL: Thank you, your Honor.
25                THE COURT: Thank you.




                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 53 of 54   PageID 175

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1                 (Whereupon the proceedings adjourned.)
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                        UNREDACTED TRANSCRIPT
Case 2:10-cr-20194-SHM Document 57 Filed 06/30/14 Page 54 of 54   PageID 176




                        C E R T I F I C A T E
                  I, Nicole M. Warren, RMR, CRR, do hereby
     certify that the foregoing pages are unredacted and to the
     best of my knowledge, skill, and ability are a true and
     accurate transcript from my stenotype notes of the
     Sentencing Hearing on January 26, 2012, in the matter of:




       United States of America vs. William Harness.




       Dated this 26th day of January, 2012.



     Nicole M. Warren, RMR, CRR
     Official Court Reporter
     United States District Court
     Western District of Tennessee
